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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
 ____________________________________
                                      )
 UNITED STATES OF AMERICA             )
                                      )
             v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                      )
 ROBERT HUNTER BIDEN,                 )
                                      )
             Defendant.               )
                                      )
 ____________________________________)


                                      [PROPOSED] ORDER

        The Court, having received Defendant’s Notice of Pardon and his declaration of receipt

 and acceptance, hereby enters the following order:

        IT IS HEREBY ORDERED that the Indictment in this matter is dismissed with prejudice

 and all future proceedings in this matter are adjourned.


 IT IS SO ORDERED.



 ____________________                                       __________________________
 Date                                                       Hon. Maryellen Noreika
                                                            United States District Judge
